            Case 1:17-sw-00708-JFA Document 1 Filed 10/26/17 Page 1 of 34 PageID# 1
 AO 106(Rev. 04/10) Application for a SearchWarrant



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                                                                     for the                                 u       p'
                                                                                                             r       ;
                                                        Eastern District of Virginia
                                                                                                                          OCT 2 6            ..y



                In the Matter of the Search of
         • (Briefly describe theproperty to be searched                                                          C.
            or identifytheperson by mme and address)
                                                                                 Case No. 17-SW-708
        Information associated with Facebook user IDs
           "Ben.ManlapazJBIVIFinancialGroup" and
  "100008768172560," stored at premises controlled by
                         Facebook, Inc.
                                           APPLICATION FOR A SEARCH WARRANT
         I, a federal law enforcement officer oranattorney for thegovernment, request a search warrant and state under
 penalty ofperjuiy that I have reason to believe that onthe following person orproperty (identify the person or describe the
property to be searched andgive its location):
 See Attachment A.


 located in the _          Northern              District of             California             , there is now concealed (identify the
person or describe theproperty to be seizec^'.
 See Attachment B.



           The basis for the search under Fed. R. Crim. P. 41(c) is (checkone ormore):
                 sTevidence ofacrime;
                sTcontraband, fruits ofcrime, or other items illegally possessed;
                sTproperty designed for use, intended for use, or used in committing acrime;
                • a personto be arrested or a person who is unlawfully restrained.
           The search is related to a violation of:

             Code Section                                                        Offense Description
        18 U.S.C. §§371,1349,1341,               Conspiracy, mail fraud, wire fraud, money laundering, identity theft and aiding and
        1343,1956,1957, 1028(a)(7),              assisting in the preparation of false tax returns
        26 U.S.C. § 7206(2)
           The application is based on these facts:
        See attached affidavit.



               Continued on the attached sheet.
           • Delayed notice of               days (give exact ending date if more than 30 days: _                           ) is requested
               under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.



          Reviewed by AUSA/SAUSA:                                                             Appl^ant's signature
           AUSA Katherine L. Wong                                                 IVIichael Wheeler, Special Agent, IRS-CI
                                                                                              Printed name and title

Sworn to before me and signed in my presence.
                                                                                       /S/.
                                                                       John F. Anderson
Date:           10/26/2017
                                                                       United States Magistrate Judge
                                                                                                Judge's signature

Cityandstate: Alexandria. VA                                             The Honorable John F. Anderson, U.S. MagistrateJudge
                                                                                              Printed name and title
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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA

                                      Alexandria Division

IN THE MATTER OF THE SEARCH OF
INFORMATION ASSOCIATED WITH
FACEBOOK USER IDs:                                          Case No. 17-SW-709-

"Ben.ManlapazJBMFiiiancialGroup", and                       UNDER SEAL
"100008768172560".


STORED AT PREMISES CONTROLLED
BY FACEBOOK INC.


                                     ATTACHMENT A
                                    Places to Be Searched

       This warrant applies to any and all information associated with the Facebook IDs

"Ben,Manlapaz.JBMFinancialGroup" and"100008768172560," that are stored at a premises

owned, maintained, controlled, or operated by Facebook Inc., a company headquartered in

Menlo Park, CaUfomia.
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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                                 EASTERN DISTRICT OF VIRGINIA

                                          .Alexandria Division

 IN THE MATTER OF THE SEARCH OF
 INFORMATION ASSOCIATED WITH
 FACEBOOK USER IDs:                                              Case No. 17-SW-W

 "Ben.Maiilapaz.JBMFinancialGroiip", and                         UNDER SEAT.
 "100008768172560".

 STORED AT PREMISES CONTROLLED
BY FACEBOOK INC.


                                          ATTACHMENTS
                                    Particular Things to be Seized

    I.         Information to be disclosed byFACEBOOK, Inc. (the"Provider")
           To the extent that the infonnation described inAttachment Ais within the possession,
custody, or control ofthe Provider, including any emails, records, files, logs, or information that

has been deleted but is still available to the Provider, or has been preserved pursuant to arequest
made under 18 U.S.C. §2703(f), the Provider is required to disclose thefollowing information to

the govermnent for each account or identifier hsted inAttachment A fortheperiod of2008 to

present:

         (a)     All activity logs for the account and all other documents showing the user's posts

                 and other Facebook activities;

         (b)     Allphotos andvideos uploaded by thatuserID andallphotos andvideos

                 uploaded by anyuserthat have thatusertagged in them;

         (c)     All profile information; News Feed infoimation; status updates; links tovideos,

                 photographs, articles, and other items; Notes; Wall postings; friend lists, including
                 the fiiends' Facebook user identification numbers; groups andnetworks of which
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           theuser is a member, iaclutog the groups' Facebook group identification

           numbers; future and past event postings; rejected "Friend" requests; comments;

           gifts; pokes; tags; and information about the user's access and use of Facebook

           applications;

   (d)     All other records of communications and messages made orreceived bytheuser,

           including allprivate messages, chat history, video calling history, and pending

           "Friend" requests;

   (e)     All "check ins" and other location informatioh;

   (f).    All ff logs, including all records of the IP addresses thatlogged into the account;

   (g)     All records of the account's usage of the "Like" feature, including all Facebook

          posts and all non-Facebook webpages and content that the user has "liked";

   (h)    All information about the Facebook pages that the account is or was a "fan" of;

   (i)    All past and present lists offriends created by the account;

  (j)     All records of Facebook searches performed by the account;

  (k) . All information about the user's access anduse of Facebook Marketplace;

  (1)     The types of service utilized by the user;

  (m)     The length of service (including start date) and the means and source ofany

          payments associated with the service (including any credit card or bank account

          number);

  (n)     All privacysettings and otheraccount settings, including privacysettings for

          individualFacebookposts and activities, and all records showing which Facebook

          users have been blocked by the account;
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          (o)      All records pertaining tocommunications between Facebook and any person
                   regarding the user orthe user's Facebook account, including contacts with support
                   services and records of actions taken.

          (p)      The jBles, contents and metadata associated with the accounts related to Facebook

                   services such asFacebook Likes, Facebook search history, Facebook bookmarks,

                   Facebookdrive files, Facebook purchases, Facebook Sites, Facebook

                   notifications, Facebook uploads and activity (including but not limited to the

                   user's profile, posts, chats, messages andemails, comments), Facebook followers,

         (q)       All records or other information regarding the identification of theaccount, to

                   include full name, physical address, telephone numbers andother identifiers,

                   records of session times anddurations, the date on which the account was created,

                   the length of service, the IP address usedto register the account, log-in IP

                  addresses associated with sessiontimes and dates, account status, altemative e-

                  mailaddresses provided during registration, methods of connecting, logfiles, and

                  means and source ofpayment (including any credit or bank account

                  number),screen names, Facebooksecurity questions and answers, contact email

                  addresses, websites and other personal identifiers;

         (r)      Records or ioformation (cookie data), to include unique identifying information,

                  of all devices that have accessed target accounts

    n.         Information to be Seized by the Government

         A.       All informationdescribedin Section I above, including but not limited to

correspondence, records, documents, photographs, videos, electronic mail, chatlogs, and

electronic messages, that constitutes evidence, contraband, and fiuits ofviolations of the
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  preparation of false andfraudulent tax returns (26 U.S.C. § 7206(2)), rpgil fraud (18 U.S.C.

  § 1341), wire fraud (18 U.S.C. § 1343), conspiracy to defraud the United States (18 U.S.C.

  §§ 371,1349), money laundering (18 U.S.C. §§ 1956,1957), and identity theft (18 U.S.C.

  § 1028(a)(7)), including, for each account or identifierlisted on Attachment A, information

 pertainingto the following matters for the period of2008 throughpresent:

 1.      Any records, documents, communications or other materials relatedto the preparation of

         federal income tax returns or state tax returns;

 2.      Any records, documents, communications or other materials related to communications

        •with the U.S. Ihtemal Revenue Service or state tax authorities;

 3.      Any records, documents, communications or othermaterials related to advertising the

         services offeredby JBM, includingbut limited to those related to tax preparation,ITINs,

         or responding to IRS letters/audits;

 4.      Any records, documents, communications or other materials related to the identities,

         roles, and relationships of employees in JBM, including who had a management and/or

         supervisory role;

,5.     Any records, documents, communications or other materials related to the IRS criminal

        investigation, iQcluding the search in 2013;

6.      Any records, documents, communications or other materials related to the training,

        certifications or qualifications of BenManlapaz or others employees of JBM to prepare

        tax returns;                                                                             .

7.      Any records, documents, communications or othermaterials related to identifyiag clients

        ofJBM;
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8.       Aay records, documents, communications orother materials related tothe disposition of
         proceeds earned by BenManlapaz and/orJBM, including the manner andmeans for

         paying employees in the Philippines;

9.       Any records, documents, communications or other materials related to the use of cash or

         the sending of JBM proceeds outside ofthe United States;

10. .    Any records, documents, commumcations or other materials related to books and records

         ofJBM, including any client lists;

11.      Any records, documents, communications or other materials related to the JBM office in

         the Philippines and its role in preparing materials submitted to the IRS or state tax

         authorities;

12.      Any records, documents, communications or other evidence showingwho used, owned,

         or controlled the accounts or identifiers listed on Attachment A;

13.     Any records, documents, communications or other evidence ofthe times the accounts or

        identifiers listed on Attachment A were used, updated or revised;

14.     Any records, documents, communications or otherevidence of p^swords or encryption

        keys and other access information that may be necessary to access the accounts or

        identifiers listed on Attachment A and other associated accounts.
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                    IN THE UNITED STATES DISTRICT COURT FOR THE '
                              EASTERN DISTRICT OF VIRGINIA                      "
                                                                                     v-u i

                                       Alexandria Division

 IN THE MATTER OF THE SEARCH OF
 INFORMATION ASSOCIATED WITH
 FACEBOOK USER IDs:                                          Case No. 17-SW-?e9

 "Ben.ManlapazJBMFinancialGroup", and                        UNDER SEAL
 "100008768172560".

 STORED AT PREMISES CONTROLLED
 BY FACEBOOK INC.


                              AFFIDAVIT IN SUPPORT OF
                         APPLICATION FOR SEARCH WARRANT

        I, Michael J. Wheeler, being duly sworn, depose anddeclare the following:

                                      INTRODUCTION

        1.     I make this affidavitin support of an applicationfor a search warrant for

information associated with Facebook user IDs "Ben.Manlapaz.JBMFinancialGroup" and

"100008768172560" (hereinafter, "SUBJECT FACEBOOK ACCOUNTS") thatare stored at

premises owned, maintained, controlled, oroperated by Facebook Inc. (hereinafter, "Facebook"),

a social networking company headquartered in Menlo Park, California. The information to be

searched is described in the followingparagraphs and in Attachment A. This affidavit is made in

support of an application fora search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and

2703(c)(1)(A) to require Facebook to disclose to the govermnent records and other information

in its possession, pertaining to the subscriber or customer associated with the SUBJECT

FACEBOOK ACCOUNTS with the identifiers listed in Attachment A.

       2.     I am a Special Agent with Internal Revenue Service Criminal Investigation

(hereinafter, "IRS-CI") andhave beenso employed since July2012. Prior to July 2012,1 was
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 employed by an international accounting firm for approximately three years. I am a Certified

 Public Accoimtant, a Certified Government Financial Manager, and a Certified Fraud Examiner.

 I am also certified in Information Security Fundamentals. Mytraining has included financial

investigative techniques, accounting, tax, criminal investigation techniques, criminal law and

search warrants. As an IRS-CI Special Agent, I investigate potential violations of the Internal

Revenue Code (Title 26), theMoney Laundering Control Act(Title 18) and the Bank Secrecy

Act (Title 31). By virtue of my training andexperience, I am famiUar ydthinvestigations

involving allegations and violationsrelatedto the preparation of false and fraudulent tax returns

(26 U.S.C. §7206(2)), mail firaud (18 U.S^C. § 1341), wire firaud (18 U.S.C. §1343), conspiracy
to defraud the United States (18 U.S.C. § 371), money laundering (18 U.S.C. §§ 1956,1957),

identity theft (18 U.S.C. § 1028(a)(7)) and other white collar and financial violations.

        3.      Based on the facts set forth herein, I submit there is probable cause to believe that

Jose Benjamin Manlapaz (hereinafter, "Manlapaz"), owner of JBM Financial Services, which

recently also went by the name JBM Financial Group, committedthe followingoffensestogether

with others known and unknownto the investigation: aiding or assisting in the preparationof

fraudulent tax returns, in violation of 26 USC § 7206(2), conspiracy to defraud the United States,

in violation of 18 USC §§ 371 and 1349, mail fraud, in violation of 18 USC § 1341, wire fraud,

in violation of 18 USC § 1343,identitytheft, in violation of 18 USC § 1028(a)(7), and money

laundering, in violation of 18 USC §§ 1956, 1957. Based on the information set forth herein, I

submit there is probable cause to believe that evidence, fiiiits and instrumentalities of these

offenses will bfe found in the above-described SUBJECT FACEBOOK ACCOUNTS.

       4.      This Affidavit is based upon information gained by me from multiple sources;

including but not limited to, recorded conversation and correspondence obtained during an
  Case 1:17-sw-00708-JFA Document 1 Filed 10/26/17 Page 10 of 34 PageID# 10



 undercover investigation, surveillance, a review ofInternal Revenue Service (hereinafter, "IRS")
 databases, a review of Federal income taxreturn information, witness interviews, a review of

 email account records obtained via search warrant in 2013 issued by the Honorable IvanD.

 Davis (13-SW-671), a review ofrecords obtained from a search ofIBM'soffices in May 2013

 and again in May 2017, consent searches of former employee's email accounts that were active

 at the time ofthe second search in May 2017, a review of records obtained from a search of

Manlapaz's residence in May2017, information received froni other IRS persormel, and

knowledge gained from my training and experience. Because this Affidavit is written and

offered for the limited purpose of establishing probable cause for the issuance of searchwarrants,

it does not contain all of the information that the Governmentpossesses relative to this

investigation.

                                          JURISDICTION


        5.       This Court has jurisdiction to issue the requested warrant because it is "a court of

competent jurisdiction" as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A) &

(c)(1)(A). Specifically, the Court is "a district court of the United States ...that - has jurisdiction

over the offense being investigated." 18 U.S.C. § 271 l(3)(A)(i).

       6.        The investigationhas revealed that Manlapaz operatedhis tax preparation business

in the Eastern District of Virginia. Manlapaz also lived in the Eastern District of Virginia during

the relevant time period.

                                       PROBABLE CAUSE


       7.        In or around 2012, the IRS identified tax return preparer Manlapaz and his

business ,JBM Financial Services/Group (hereinafter "IBM"), based on data analysis as having

potentially fraudulent tax preparation activity. At that time, IBM was located at 6201 Leesburg
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Pike Suite 218, in Falls Church, Virginia. By the time ofthe 2016 tax preparation season, it had

moved to Suite 405 at the same address.


        8.      On or about March 21, 2013, an Undercover Agent (hereinafter, "UCA") walked

into JBM at 6201 Leesburg Pike Suite 218, Falls Church, Virginia 22044 in an attempt to have

an income tax return prepared by Manlapaz.

        9.      Upon entering Suite 218, the UCA was greeted by a female employee. This

female employee conducted intake procedures and the UCA provided their undercover personal

information and a 2012 Form W-2 that had been created by IRS-CL After providing the required

information, the UCA waited in the waiting area until it was his/her turn to meet with Manlapaz

in his back office.


        10.    Manlapaz eventually called the UCA into his office and explained that the UCA

would owe approximately $500 if Manlapaz prepared the Federal income tax return correctly.

Manlapaz asked the UCA ifhe/she needed money and then offered to provide the UCA with a

tax refimd of approximately $1,900 by placing a fraudulent education credit on their Federal

income tax return.


       11.     Manlapaz further explained what an IRS audit was and what the UCA should do

if his/her Federal income tax return was audited. Manlapaz directed the UCA to bring any IRS

audit correspondence to him and stated that he would respond to the audit oh the UCA's behalf,

       12.     If Manlapaz had prepared the 2012 Federal income tax return correctly, the

resulting tax due and owing would have been approximately $520. Manlapaz instead placed

$4,000 of fraudulent qualified education expenses on a Form 8863, Education Credits, for the

UCA, which resulted in a $1,000 refundable American opportunity credit and a $1,500

nonrefundable education credit. These credits combined to provide the UCA with a Federal tax
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 refond of$1,981. The Forai 8863 that Manlapaz prepared fraudulently indicates that the UCA
 incurred qualified education expenses with Stratford University at 7777 Leesburg Pike, Falls

 Church, Virginia 22043. The UCAdid not provide Manlapaz or JBM with information or

 documentation for these fraudulent education credits.

         13.    The UCA paid a second female JBM employee $195 in cash and received an

invoice stamped "PAID" in return. This second female employee also provided the UCA witha

printed copy ofhis/her Federal and State income tax reinms and informed the UCA that JBM

would send copies of the tax returns to the residential address the UCAprovided earlier.

        14.     Manlapaz is listed as the paid preparer on the UCA's 2012 Federal tax return.

Manlapaz is also listed as a third party designee, which authorized him to discuss the tax return

with the IRS.


        15.     On or about May 15,2013 law enforcement conducted a search warrant of JBM's

offices (hereinafter, "2013 search"), seizing client files and other documents related to the

preparation oftax returns. Law enforcement also seized various electronic files containing

Manlapaz's work-related emails for the period of at least 2008 througji May 2013.

        16.     During subsequent interviews of former JBM employees and based on a review of

the May 2013 search warrant materials, law enforcement learned that Manlapaz taught JBM

employees how to prepare fraudulent tax returns claiming false items such as education credits,

childcare expenses, and false Schedule Cs (businesses). For example^ former employee G.E.

explained how s/he was trained by other JBM.employees to use a list of educational institutions

that JBM created and maintained, along with an online mapping tool to locate an educational

institution close to a client's address. JBM employees were then instructed to add this

educational institution to the client's tax return data, regardless of whether or not the client
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 actually attended a qualifying educational institution orhad provided any documentation about

 educational expenses during their intake interview. G.E. also explained how s/he was taught to
 claim certain amounts ofeducation expenses. Based on my knowledge, training, and experience,
 I know that the amounts of education expenses that G.E. was trained to claim has the effect of

largely maximizing the benefit of the education tax credit.

        17.     During subsequent interviews of former JBMemployees and based on a reviewof

theMay 2013 search warrant materials, law enforcement learned thatManlapaz and JBM hada

satellite office in the Philippines managed by Diana Dela Cruz (hereinafter, "Dela Cruz") under

the direction of Manlapaz. Theprimarymethod of communication betweenDela Cruz,

Manlapaz and other JBM employees was by email. Dela Cruz used the

"dianadelacruz201 l@gmail.com" account.

        18.     If a JBM client was audited and asked for supporting documentation by the IRS,

my investigation has revealed that employees were taught to emailDela Cruz in the PhiUppines.

In many instances, the IRS audit letters informedthe client that the IRS did not have any record

ofthe puiported expenses claimed on the return, and was requesting documentation from the

taxpayer. For example, former employee E.Q. explained how s/he would assist clients who

would come into JBM with IRS audit letters. E.Q., using email account

"ericaq0894@gmail.com", would email Dela Cruz at "dianadelacruz2011@gmail.com" with the

client name, the educational institution listed on the client's tax return that was under audit, the

tax year, and the educational expense amount. In response, Dela Cruz would email E.Q. a false

and fraudulent Form 1098-Tthat was supposedto containthe informationthat E.Q. previously

requested. E.Q. noted how Manlapaz instructed him/her to pay close attention as to how the

Forms 1098-T produced by Dela Cruz appeared and ensure that the Forms 1098-T looked as
  Case 1:17-sw-00708-JFA Document 1 Filed 10/26/17 Page 14 of 34 PageID# 14



 close to an authentic document as possible. In other instances, E.Q. and other employees would
 email Dela Cruz torequest documents tosubstantiate other fraudulent items on cHent returns,
 such as medical expenses or childcare expenses. These fraudulent documents were often created

 from scanned copies of real, genuine receipts that JBM obtainedfrom other chents and would

 then sendto Dela Cruzby scanning the originals.

         19.    On August 9,2013, E.Q. sent law enforcement aa email from

"ericaq0894@gmail.com" that showed a Form 1098-T for taxpayer Samuel Banya sent from

"dianadelacruz201 l@gmail.com" to "ericaq0894@gmail.com" on May 13, 2013,The email was

signed by DelaCruz. The Form 1098-T showed $3,116 in qualified education expenses from

Northern Virginia Community College for Samuel Banya fortax year2011. PerIRS data, Jose

BenjaminManlapaz and JBM FinancialServicesprepared a tax year 2011 tax return for Samuel

Banya that claimed $2,500 in educationcredits and a tax reftindof $3,757. IRS data show no

Form 1098-T on file forthis taxreturn, which means thatno educational institution reported any

such qualified education expenses for this taxpayer. According to records obtained from

Northern Virginia CommunityCollege (hereinafter, "NVCC"), Samuel Banya has never

completed any credithours with them or paid them any qualified education expenses.

        20.    According to interviews of JBM employees who worked there after the 2013

search and clients who had tax returns prepared afterthe 2013 search, JBM continued to prepare

false and fraudulent tax returns after the 2013 search. In order to conceal the preparationof tax

returns, Manlapaz no longer lists himself or "JBM" in the paid preparer section ofthe tax return

and files tlie majority of tax returns by mailing them to the IRS. Manlapazalso directedJBM

employees to obtain electronic filing identification numbers, but not list their association with

JBM on the necessary IRS applications.
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        21.     Records seized during the 2017 search show that Manlapaz was trying, to grow

JBM, with a goal of4,000 clients for the 2017 tax year. JBM records show that JBM prepared

thousands ofreturns for tax years 2013, 2014,2015 and 2016. Manlapaz oversaw and directed

the procedures used to prepare these returns, which included him signing off on tax returns

before they were filed. Former employees have also stated that the price charged to JBM clients

generally reflected the number of false items placed on the return, and thus the refund amount.

Based on a review ofrecords from the search in May 2017 (hereinafter, "2017 search"), I know

some clients were charged between $300 and $1,000 for JBM to prepare their return. High fees

is often a characteristic of tax preparation services that add false items to generate larger,

fraudulent reftinds.


        22.     One of the other services that JBM offered was filing for hidividual Tax

Identification Numbers (hereinafter, "ITINs") with the IRS. Manlapaz encouraged clients to

obtain ITINs for friends and relatives located overseas, who would then be fraudulently added to

the clients' tax return as dependents. These friends or relatives should not have been added to

the return, because they did not live with the client, were generally not even in the United States,

and sometimes even lacked a qualifying familial relationship with the taxpayer. Former JBM

employees described how they were instructed to falsify the ITIN applications to make it appear

that the individual lived in the United States, and sometimes list a false relationship to the

taxpayer on the tax return.

       23.     Interviews of JBM employees and clients have revealed that Manlapaz and JBM

caused the preparation of additional false tax returns for tax years 2014 through 2017, using

largely the same methodology and techniques employed before the 2013 search. After the 2017

search warrant, law enforcement has interviewed multiple former JBM employees who were
  Case 1:17-sw-00708-JFA Document 1 Filed 10/26/17 Page 16 of 34 PageID# 16



 recently employed by Manlapaz. These individuals described atax preparation business that was
 still permeated with fraud. For example, one former JBM employee noted that s/he was tasked
 with correcting client intake interview worksheets after the tax returns had been prepared. This
 individual was instructed to make sure the client interview worksheets supported what was
 claimed on the tax returns and ifthey did not, to add items such as education expenses and
 childcare expenses to the worksheet inorder for the documents to match up. This after-the-fact
 alteration would thus give the appearance to anyone reviewing the paperwork that the cHent
 provided the information to support the false andfraudulent credit anddeductions Hsted on their

 tax returns. When asked how many client interview worksheets s/he hadto correct, the former

 JBM employee stated thatevery worksheet s/he reviewed required additions. Law enforcement

has reviewed a number ofclient interview worksheets seized during the 2017 JBM search

warrant and noted that many ofthem have different sets ofhandwriting and, in some cases,
different colored ink. The items written with different handwriting and/or inkare often items

that would support particular credits and/or deductions on the clients' tax retums.

        24.    Several clients of JBM filed coihplaints with the IRS asrecently as 2016 and

2017, sieging that JBM prepared tax returns that included false and fraudulent items, including
education credits, without their knowledge orpermission. The investigation has also revealed
that JBM has continued to prepare responses to IRS audit letters (hereinafter "IRS letters"). To
prepare these responses, employees have continued to contact Dela Cruz inthe Philippines and
request fraudulent documentation. This documentation is then submitted to the IRS.

       25.    The investigation, including a review ofbank accounts in the name of JBM and

Manlapaz, shows that some ofthe proceeds from JBM were sent outside the United States, to
Dela Cruz in the Philippines. E.C., a friend of Manlapaz andclient of JBM, also stated thathe
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agreed to send cash given to him by Manlapaz to the Philippines after the 2013 search. On two

occasions, E.G. attempted to send tens ofthousands of dollars in cash to the Philippines. At the

time, the only apparent source of income for Manlapaz was JBM. Since then, the investigation

has revealed that Manlapazgenerallykept his cash separatefrom his wife, who is a doctor with

her own medical practice.

                  FACEBOOK USER ID Beii.Maiilapaz.JBMFinancialGroup

       26.       I have reviewed the publicly available Facebook account associated with User ID

Ben.Manlapaz.JBMFinancialGroup. The account indicatesthe accountholder is-"very

responsive" to messages and typicallyreplies within a day. There is also a link on the page that

says "send message". Clicking on this link brings up a Facebookmessage directed to JBM

Financial Group and encourages the user to "type a message".

       27.      The Ben.Manlapaz.JBMFinancialGroup account has pictures of Manlapaz and

employeesof JBM; it also was used to advertiseJBM's services. For example: .

       A. On or about April 25,2017 a photo was posted stating the JBM office was open for

             essential services only, to include extensions on IRS letters and notices and intake

             interviews on new IRS letters and files. A Spanish language version of what appears

             to be the same information was posted on or about the same day,

       B. On or about February 20, 2016 a photo was posted listing JBM's services, to include

             tax preparation, IRS audit resolution, applications for ITINs, tax amendments,

             "recover tax paid from frivolous tax return preparers", Philippines passport services,

             Philippines business registrations, and Philippines business audits. The same photo

             indicates that Manlapaz, Dela Cruz, and Arlene Camacho Pascual should be asked

             about the Philippines-based services.




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     C. On or about January 6,2016 aphoto was posted that explains to clients what they
        should bring to the tax interview, to include wage statements, child care expenses,
        charitable contributions, education and tuition expenses to include Forms 1098-T, and
        self-employment business receipts.
     D. On orabout January 6,2016 aphoto was posted with general JBM contact and
        location information, including thephone number forDela Cruz.

    E. On orabout January 1,2016 aphoto was posted that isa personal letter from
        Manlapaz to his clients. This letter states that Manlapaz has hired competent
        individuals for the coming tax season and that he has trained them and will continue
       to train them. Manlapaz also states that he is consistently learning about tax laws,
       going to tax forums, and understanding IRS positions related to tax law. Manlapaz
       says that he will exhaust all efforts to resolve any IRS issues the clients may have and
       hecloses byencouraging his chents to refer their family and Mends since JBM is a
       referral only company.

    F. Onor about September 6,2015 the account posted a link to a New York Times article

       titled "Hacking ofTax Returns More Extensive Than First Reported, I.R.S. Says"
       with the caption, "IF YOU HAVE BEEN WRITTEN A LETTER, WE NEED TO
       ANSWER IMMEDIATELY ... come to the office and I will file areport and protect
       your identity."

   G. On or about February 27, 2015 the account posted information titled "What you need
      to know about the Child Tax Credit". This includes information about qualifications
      and certain tests that are applied regarding age, relationship, support, dependency,
      citizenship, residence, and others.




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       28.        The SUBJECT FACEBOOK ACCOUNT also has correspondence with other

FacebOok Accounts, including a Facebook account in the name of Rosie Statler (hereinafter,

"Statler"). The account 100008768172560, a personal account registered to "Ben Manlapaz," is

"friends" with the Statler account, which lists Statler as living in Winchester, Virginia,

According to IRS records, Rosie Statler ofWinchester, Virginia, filed her tax year 2014 and

2015 tax returns on or about November 19,2016. Her 2014 tax return claimed a Schedule C

self-employment business loss ofmore than $4,000; Statler received tax refunds of more than

$2,000 for both tax years. There is no paid preparer listed on these tax returns. Based on

interviews of JBM clients and former JBM employees I know that Manlapaz prepared tax returns

firom at least tax year 2013 through at least tax year 2016 without filling out the paid preparer

section. I also know from former JBM employees that Manlapaz would sometimes direct

employees to create a fraudulent Schedule C in order to increase a client's tax refund.

                           FACEBOOK USER ID "100008768172560"


       29.        According to Facebook records obtained via a § 2703(d) order signed by the

Honorable Michael S. Nachmanoff (17-ec-930) for User ID 100008768172560 and

Ben.Manlapaz.JBMFinancialGroup, Facebook user ID "100008768172560" belongs to "Ben

Manlapaz". I have reviewed the message headers related to the "100008768172560" Facebook

account obtained via the § 2703(d) order. The headers show the message participants as well as

the date and time stamps of the messages. I have also reviewed the publicly available Facebook

page information. A review ofthis data shows the following:

             A.    Photos of Manlapaz and former JBM employees are posted to the account.

                   Photos of information related to JBM's tax preparation and other services are

                   also posted to the account.




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        B.    The account Hsts Manlapaz as a"Tax Audit and Compliance Manager at JBM
              Financial Group" from 1998 to present The work description for this position
              states, "I respond to IRS letters and audits. I also makesure that returns are

              compliant with IRS Tax Laws andRevenue Codes. Since the Internal Revenue

              Code is so complex, the need for proper interpretation isofparamount
              importance to ourclients, both business andpersonal. When it comes to the

              IRS, our poHcy is simple: We offer simple solutions to complex problems. This
              is of outmost importance to me nowmore than.ever before. Come and let's talk

              about your tax benefit"

       C.     On orabout April 24,2017, the 100008768172560 account authored a message
             to Daniela Mochorro, who responded on or about May 23,2017. At thetime of

             these messages, Daniela Mochorro was employed by JBM andMANLAPAZ.

       D.    Between October 2016 and May 2017, the 100008768172560 account authored

             orreceived messages from an account in the name of Yuyu Aragon. Based on

             interviews with former JBM employees, I know thatYuyu Aragon was also

             employed by JBM for a period of time.

      E.     From June 2015 through May 2017, the 100008768172560 account

             corresponded with anaccount inthe name ofEve Smith (hereinafter, "Smith")
             who was listed as living m Manassas, Virginia. According to IRS records, Eve

             Smith of Manassas, Virginia, had her tax year 2010,2011, and 2012 tax returns

             prepared by Manlapaz and JBM. Smith's tax year 2013 and 2014 tax returns do

             not list any paid return preparer. Based on interviews of JBM clients and

             former JBM employees I know thatManlapaz prepared tax returns from at least



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           tax year 2013 through at least tax year 2016 without filling out the paid preparer

           section. Smith's tax year 2010 through 2014 tax returns claim at least $1,000 in

           education credits each year, which was a credit that Manlapaz routinely directed

           employees to add to cUent returns in order to firaudulently increase their refund.

      F.   From November 2016 through May 2017, the 100008768172560 account

           corresponded with an account in the name of Khoeun Ly (hereinafter, "Ly").

           The 100008768172560 account is fiiends with the Ly account. Based on

           publicly available Facebook data,the personcontrolling the Ly account has

           repeatedly beenin and around the Charlotte, NorthCarolina area. According to

           IRS records, Khoeun Ly of Charlotte, North Carolina had their tax year 2010,

           2011, and 2012 tax returns prepared by JBM. Ly's tax year 2013 through 2016

           tax returns do not list a paid return preparer. Ly's tax year 2010 through 2016

           tax returns all claim at least $1,000 in education credits each year,

      G.   On or about July 22, 2016, on or about February 8,2017, and on or about May

           23,2017 the account corresponded with an account in the narne of Grace

           Kimball (hereinafter, "Kimball")- According to Facebookrecords, Kimball

           lives in Northem Virginia and works at Sunrise Senior Living. According to

           IRS records, Grace Kimball of Northem Virginia who works at Sunrise Senior

           Living had her tax year 2010,2011, and 2012 tax returns prepared by JBM and

           Manlapaz. Kimball's tax year 2010,2011, and 2012 tax returns claim at least

           $1,000 in education credit each year.




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                                   TECHNICAL BACKGROUND

        30.       Based on my training and experience, I know that businesses often use Facebook

to advertise their services andpromote relationships withexisting clients/employees. In this

case, I believe the SUBJECT FACEBOOK ACCOUNTS wereusedby Manlapaz for those

purposes and to correspond with employees. For example, after"friending" a personon

Facebook, that friend willgenerally receive updates andposts. In this case, some of theposts

include advertisements of IBM's services.


        31. . I haveconsulted withan IRS-CI special agent who is assigned to the Technology

Operations and Investigative Services Division with IRS-CFs Washington, DC Field Office and

has training, experience, and expertise in computers. That Special Agent confirmed to me that

the technical background contained in this section ofmy affidavit is accurate.

        32.       Facebook owns and operates a free-access social networking website of the same

name that can be accessed at http.7/www.facebook.com. Facebook allows its users to establish

accounts with Facebook, and users can then use their accounts to share written news,

photographs, videos, and other information with other Facebook users, and sometimes with the

general public.

       33.        Facebook asks users to provide basic contact and personal identifying information

to Facebook, either during the registration process or thereafter. This information may include

the user's fiill name, birth date, gender, contact e-mail addresses, Facebook passwords, Facebook

security questions and answers (for password retrieval), physical address (including city, state,

and zip code), telephone numbers, screen names, websites, and other personal identifiers.

Facebook also assigns a user identification number to each account.




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         34.     Facebook users mayjoin oneor more groups or networks to connect andinteract

 with other users who are members ofthe same group or network. Facebook assigns agroup
 identification number to each group. AFacebook user can also connect directly with individual
 Facebook users by sending each user a"Friend Request." Ifthe recipient ofa"Friend Request"
 accepts the request, then the two users will become "Friends" for purposes ofFacebook and can

 exchange communications or view information about each other. Each Facebook user's account

 includes a listofthat user's "Friends" and a "News Feed," which highlights information about
 the user's "Friends," such asprofile changes, upcoming events, and birthdays,

        35.     Facebook users can select different levels ofprivacy for the communications and
information associated with their Facebook accounts. By adjusting these privacy settings, a
Facebook user can make information available only to himself orherself, to particular Facebook

users, or to anyone with access to the Intemet, including people who are not Facebook users. A

Facebook usercanalso create "hsts" of Facebook fiiends to facilitate the application of these

privacy settings. Facebook accounts also include other account settings that users canadjust to

control, for example, the types ofnotifications they receive from Facebook.

        36.    Facebook users cancreate profiles thatinclude photographs, listsofpersonal

interests, and otherinformation. Facebook users can alsopost "status"updates abouttheir

whereabouts and actions, as well as links to videos,photographs, articles, and other items

available elsewhere ontheIntemet. Facebook users can also post information about upcoming

"events," suchas social occasions, by listing the event's time, location, host, andguest list. In

addition, Facebook users can"check in" to particular locations or addtheirgeographic locations

to their Facebook posts, thereby revealing their geographic locations at particular dates and

times. A particular user's profile page also includes a "Wall," which is a space where the user



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 and his or her "Friends" can post messages, attachments, and hnks that will typically be visible
 to anyone who can view the user's profile.

        37.     Facebook allows users to upload photos and videos, which may include any
 metadata such as location that the user transmitted when s/he uploaded the photo orvideo. It
 also provides users the ability to"tag" (i,e., label) other Facebook users inaphoto orvideo.
 When a user istagged in a photo orvideo, he orshe receives a notification ofthe tag and a link
 to seethephoto or video. For Facebook's puiposes, the photos andvideos associated witha

user's accountwill includeall photos and videos uploaded by that user that have not been

deleted, aswell as all photos and videos uploaded byany user that have that user tagged inthem.

        38.     Facebookusers can exchange private messages on Facebookwith other users.

These messages, which are similar to e-mail messages, are sentto the recipient's "Inbox" on

Facebook, which also stores copies ofmessages sent by the recipient, as well as other

information. Facebook users can alsopost comments on the Facebook profiles of otherusers or

on their ownprofiles; suchcomments are typically associated witha specific posting or item on

the profile. In addition, Facebook has a Chat feature that allows users to send and receive instant

messages through Facebook. These chatcommunications are stored in the chathistory forthe

account. Facebook also has a Video Calling feature, and although Facebook does not record the

calls themselves, it does keep records of the date of each call.

       39.     Facebook has a search function that enables its users to search Facebook for

keywords, usemames, or pages, among other things.

     . 40.     Each Facebook account hasan activity log, which is a list of the user's posts and

other Facebook activities fi"om theinception of the account to thepresent. The activity log

includes stories and photos that the user has been tagged in, aswell as connections made throu^



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the account, such as "liking" a Facebook page or adding someone as a fiiend. The activity log is

visible to the user but cannot be viewed by people who visit the user's Facebook page.

        41.     In addition to the applications described above, Facebook also provides its users

with access to thousaads of other applications (hereinafter, "apps") on the Facebook platform.

When a Facebook user accesses or uses one of these applications, an update about that the user's

access or use ofthat application may appear on the user's profile page.

        42.     Facebook uses the term "Neoprint" to describe an expanded view of a given user

profile. The **Neoprint" for a given user can include the following information fi-om the user's

profile: profile contact information; News Feed information; status updates; links to videos,

photographs, articles, and other itefns; Notes; Wall postings; fiiend lists, iacluding the fiiends'

Facebook user identification numbers; groups and networks ofwhich the user is a member,

including the groups' Facebook group identification numbers; fiiture and past event postings;

rejected "Friend" requests; comments; tags; and information about the user's access and use of

Facebook applications.

        43.    Facebook also retains Internet Protocol (hereinafter, "IP") logs for a given user ID

or DP address. These logs may contain information about the actions taken by the user ID or IP

address on Facebook, including information about the type of action, the date and time of the

action, and the user ID and ff address associated with the action. For example, if a user views a

Facebook profile, that user's IP log would reflect the fact that the user viewed the profile, and

would show when and from what IP address the user did so.


       44.     Social networking providers like Facebook typically retain additional information

about their users' accoimts, such as information about the length of service (including start date),

the types of service utilized, and the means and source of any payments associated with the




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 service (including any credit card or bank account number). In some cases, Facebook users may
 communicate directly with Facebook about issues relating to their accounts, such astechnical
 problems, billing inquiries, or complaints from other users. Social networking providers like
 Facebook typically retain records about such communications, including records ofcontacts
 between the user and the provider's support servicefs, as well as records ofany actions taken by
 the provider or user as a result ofthe communications.

        45.     As explained herein, information stored in connection with a Facebook account

 mayprovide crucial evidence of the "who, what, why, when, where, and how" of the criminal

 conduct under investigation, thus enabling the United States to establish and prove each element

oralternatively, to exclude the innocent from ftirther suspicion, hi my training and experience, a
Facebook user's "Neoprint,"IP log, stored electronic communications, and other data retained

by Facebook, can indicate who has used or controlled the Facebook account. This "user

attribution" evidence is analogous to the search for "indicia ofoccupancy" while executing a
search warrant at a residence. For example, profile contact information, private messaging logs,

status updates, and tagged photos (andthe dataassociated withthe foregoing, suchas date and

time) may be evidence of who used or controlled the Facebook account at a relevant time.

Further, Facebook account activity can show how and when the account was accessed or used.

       46.     For example, as describedherein, Facebooklogs the IP addresses from which

users access theiraccounts along withthe tune and date. By determining the physical location

associated withthe logged IP addresses^ investigators canunderstand the chronological and

geographic context of the account access anduserelating to the crime under investigation. Such

information allows investigators to understand the geographic andchronological context of

Facebook access, use, andevents relating to the crime imder investigation. Additionally,



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Facebook builds geo-location into some ofits services. Geo-location allows, for example, users
to "tag" their location in posts and Facebook "friends" to locate each other. This geographic and
timeline information may tend to either inculpate or exculpate the Facebook account owner.

Last, Facebook account activity may provide relevant insight into the Facebook account owner's
state ofmind as it relates tothe offense under investigation. For example, information onthe
Facebook account may indicate the owner's motive and intent to commit a crime (e.g.,
information indicating a plan to commit a crime), or consciousness ofguilt (e.g., deleting
account information in an effort to conceal evidence from law enforcement).

       47.     Therefore, the computers ofFacebook are likely to contain all the material

described above, including stored electronic communications and information concerning
subscribers and their useof Facebook, such as account access information, transaction

information, and other account information.

                                        CONCLUSION


       48.     Based on my training and experience and the facts set forth herein, I submit there
is probable cause to believe that Manlapaz and others known and unknown to the investigation
have committed violations of26 USC § 7206(2), conspiracy to defraud the United States, in
violation of 18 USC §§ 371 and 1349, mail fraud, inviolation of18 USC § 1341, wire fraud, in
violation of18 USC § 1343, identity theft, inviolation of18 USC § 1028(a)(7), and money
laimdering, in violation of 18USC §§ 1956,1957.




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        49.     Based on my training and experience and the facts set forth above, I submit that
there is also probable cause tobelieve that evidence, contraband, and fruits ofthese offenses
exist on computer systems in the control ofFacebook. Itherefore respectfully request that the
Court issue awarrant requiring Facebook to disclose to the government copies ofthe records
and other information (including the content ofcommunications) particularly described in
Attachment B for the accounts identified in Attachment A.




                                             Michael J. W^eler
                                             Special Ag^ IRS-CI

                                      ^^0
Subscribed andswom to before me this^^aay of October, 2017.


                /S/
  John F. Anderson


United States Magistrate Judge




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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA

                                      Alexandria Division

IN THE MATTER OF THE SEARCH OF
INFORMATION ASSOCIATED WITH
FACEBOOK USER IDs:                                          Case No.

"Ben.ManlapazJBMFinancialGroup", and                        UNDER SEAL
"100008768172560".

STORED AT PREMISES CONTROLLED
BY FACEBOOK INC.


                                     ATTACHMENT A
                                    Places to Be Searched

       This warrant applies to any and all information associated with the Facebook IDs

"Ben.Manlapaz.JBMFinancialGroup" and"100008768172560," that are stored at a premises

owned, maintained, controlled, or operated by Facebook Inc., a company headquartered in

Menlo Park, California.
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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                                EASTERN DISTRICT OF VIRGINIA

                                         Alexandria Division

IN THE MATTER OF THE SEARCH OF
INFORMATION ASSOCIATED WITH
FACEBOOK USER IDs:                                             Case No. 17-SW-'?e9-7lD?
"Ben.ManIapaz.JBMFinancialGroup", and                          UNDER SEAL
"100008768172560".

STORED AT PREMISES CONTROLLED
BY FACEBOOK INC.


                                         ATTACHMENT B
                                   Particular Things to be Seized

    I.         Information to be disclosed by FACEBOOK, Inc. (the "Provider")

         To the extent that the information described in Attachment A is within the possession,

custody, or controlof the Provider, including any emails, records, files, logs, or informationthat

hasbeendeleted but is stillavailable to the Provider, orhas been preserved pursuant to a request

made under 18 U.S.C. § 2703®, the Provider is requiredto disclosethe followinginformationto

the government for each account or identifier listed in Attachment A for the period of 2008 to

present:

         (a)     All activitylogs for the accountand all other documents showing the user's posts

                 aud other Facebook activities;

         (b)     Allphotos andvideos uploaded by thatuser ED and all photos andvideos

                 uploaded by any user that have that user tagged in them;

         (c)     All profile information; News Feed information; status updates; links to videos,

                 photographs, articles, and other items; Notes; Wallpostings; Mend lists, including

                 the friends' Facebook user identification numbers; groups and networks of which
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          the user is a member, including the groups' Facebook group identification

          numbers; future and past event postings; rejected "Friend" requests; comments;

          gifts; pokes; tags; aad information about the user's access and use of Facebook

          applications;

    (d)   All other records of cormnunications and messages made or received by the user,

          including all private messages, chat history, video calling history, and pending

          "Friend" requests;

    (e)   All "check ins" and other location information;

    (f)   All IP logs, iQcluding all records of the IP addresses that logged into the account;

    (g)   All records of the account's usage of the "Like" feature, including all Facebook

          posts and all non-Facebook webpages and content that the user has "liked";

    (h)   All information about the Facebook pages that the account is or was a "fan" of;

    (i)   All past and present lists of friends created by the account;

    (j)   All records of Facebook searches perfomied by the account;

    (k)   All information about the user's access and use of Facebook Marketplace;

    (1)   The types of service utilized by the user;

    (m)   The length of service (including start date) and the means and source of any

          payments associated with the service (including any credit card or bank account

          number);

   (n)    All privacy settings and other account settings, including privacy settings for

          individual Facebook posts and activities, and all records showing which Facebook

          users have been blocked by the account;
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          (o)      All records pertaining to communications between Facebook and any person
                   regarding the user or the user's Facebook account, including contacts with support
                   services and records of actions taken.

          (p)      The files, contents and metadata associated withthe accounts related to Facebook

                   services such asFacebook Likes, Facebook search history, Facebook bookmarks,
                   Facebook drive files, Facebook purchases, Facebook Sites, Facebook

                   notifications, Facebook uploads andactivity (including but not limited to the

                   user'sprofile, posts, chats, messages andemails, comments), Facebook followers,

         (q)       All records or other information regarding the identification ofthe account, to

                  include full name, physical address, telephone numbers andother identifiers,

                  records of session times anddurations, the date on which the account was created,

                  the length of service, the IP address usedto register the account, log-in IP

                  addresses associatedwith session times and dates, account status, alternative e-

                  mail addresses provided during registration, methods of connecting, log files, and

                  means and source ofpayment (including any credit or bank account

                  number),screen names, Facebook security questions and answers, contact email

                  addresses, websites and other personal identifiers;

         (r)      Records or information (cookie data), to include unique identifying information,

                  of all devices that have accessed target accounts

   II.         Information to be Seized by the Government

         A.       All information describedin Section I above, includingbut not limited to

correspondence, records, documents, photographs, videos, electronic mail, chat logs, and

electronic messages, that constitutes evidence, contraband, and fruits ofviolations of the
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preparationof false and fraudulent tax returns. (26 U.S.C. § 7206(2)), mail fraud (18 U.S.C.

 § 1341), wire fraud (18 U.S.C. § 1343),conspiracyto defraud the United States (18 U.S.C:

§§ 371,1349), money laundering (18 U.S.C. §§ 1956,1957), and identity theft (18 U.S.C.

§ 1028(a)(7)), including, for each account or identifier listed on Attachment A, information

pertaining to the following matters for the period of 2008 through present:

1.       Any records, documents, communications or other materials related to the preparation of

         federal income tax returns or state tax returns;

2.       Any records, documents, communications or other materials related to conmiunications

         with the U.S. Internal Revenue Service or state tax authorities;

3.       Any records, documents, communications or other materials related to advertising the

         services offered by JBM, including but limited to those related to tax preparation, ITENs,

         or responding to IRS letters/audits;

4.       Any records, documents, communications or othermaterials related to the identities,

        roles, and relationships of employees in JBM, including who had a management and/or

         supervisory role;

5.      Any records, documents, communications or other materials related to the IRS criminal

        investigation, including the search in 2013;

6.      Any records, documents, communications or other materials related to the training,

        certifications or qualifications of Ben Manlapaz or others employees of JBM to prepare

        tax returns;

7.      Any records, documents, communications or other materials related to identifying clients

        of JBM;
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8.       Any records, documents, communications orother materials related to the disposition of
         proceeds earned by BenManlapaz and/orJBM, including the manner and means for

         paying employees in the Philippines;

9.       Any records, documents, communications or other materials related to the use of cash or

         the sendmg of JBM proceeds outside of the United States;

10.      Any records, documents, communications or other materials related to books and records

         of JBM, including any client lists;

11.      Any records, documents, communications or other materials related to the JBM office in

         the Philippines and its role in preparing materials submitted to the IRS or state tax

         authorities;

12.     Anyrecords, documents, communications or other evidence showing whoused, owned,

        or controlled the accounts or identifiers listed on Attachment A;

13.     Any records, documents, communications or other evidence ofthe times the accounts or

        identifiers listed on Attachment A were used, updated or revised;

14.     Any records, documents, communications or other evidence ofpasswords or encryption

        keys and other access information that may be necessary to access the accounts or

        identifiers listed on Attachment A and other associated accounts.
